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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                   TYLER DIVISION


  SECURITYPROFILING, LLC,

         Plaintiff,
                                              C.A. No. 6:16-cv-01165-RWS-JDL
                       v.
                                                 JURY TRIAL DEMANDED
  TREND MICRO AMERICA, INC. AND
  TREND MICRO INCORPORATED,

         Defendants.

       MOTION AND OPENING BRIEF IN SUPPORT OF PLAINTIFF/COUNTER-
         DEFENDANT SECURITYPROFILING, LLC’S MOTION TO DISMISS
             COUNTERCLAIMS FOR FAILURE TO STATE A CLAIM
                       AND TO STRIKE DEFENSES



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          Plaintiff/Counter-Defendant SecurityProfiling, LLC (“SecurityProfiling”) moves the

  Court, pursuant to Fed. R Civ. P. Rule 12(b)(6), for an order dismissing the First through

  Thirteenth Declaratory Judgment Counterclaims filed by Defendants/Counter-Plaintiffs Trend

  Micro America, Inc. and Trend Micro, Inc. (“Trend Micro”) for failure to state a claim, and

  under Fed. R. Civ. P. Rule 12(f) to strike the First, Second, Fourth, Sixth, Eighth through

  Eleventh, and Eighteenth Defenses.

                                  I. FACTUAL BACKGROUND

          Plaintiff filed its Complaint on September 14, 2016, alleging that Trend Micro directly

  and indirectly infringed claims of U.S. Patent Nos. 8,266,699 (the “ ‘699 Patent”), 8,984,644 (the

  “ ‘644 Patent”), 9,100,431 (the “ ‘431 Patent”), 9,117,069 (the “ ‘069 Patent”), 9,118,708 (the “

  ‘708 Patent”), and 9,225,686 (the “ ‘686 Patent”) (collectively “the Patents”). (D.I. 1).

          On December 2, 2016, Defendants filed their Defendants/Counterclaim-Plaintiffs’

  Answer and Counterclaims that included First through Thirteenth Counterclaims. (D.I. 13

  “Answer”).

          The Answer includes an Eighteenth Defense (¶¶ 61-115), and a Thirteenth Counterclaim

  (¶¶ 162-218) which are identical. In both cases, Trend Micro asserts that the inventors of the

  Patents, Brett M. Oliphant and John P. Blignaut, and their counsel committed fraud in obtaining

  the patents (“IC Claims”).

          The Answer also includes a Fourth Defense (¶¶ 51-52) and Counterclaims Second,

  Fourth, Sixth, Eighth, Tenth and Twelfth. The allegations of the Fourth Defense are identical to

  the allegations of the Counterclaims, all of which are identical to each other, except each

  Counterclaim relates to an individual Patent. The Defense and Counterclaims contain the same

  single allegation that:



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         one or more of the claims of the … Patent are invalid for failure to meet the
         requirements of Title 35, United States Code, including but not limited to Sections
         101, 102, 103, 112, and/or 116 thereof, and the rules, regulations, and laws
         pertaining thereto.

  (D.I. 13 at ¶¶ 51, 130, 136, 142, 148, 154, 160) (“Invalidity Claims”). The Invalidity Claims do

  not identify any prior art or any facts in support of the invalidity assertions.

         Finally, the Answer includes Counterclaims First, Third, Fifth, Seventh, Ninth and

  Eleventh (D.I. 13 at ¶¶ 127-28, 133-34, 139-40, 145-46, 151-52, 157-58), all of which for the

  individual Patent assert that “neither Trend Micro America nor Trend Micro, Inc. has infringed,

  literally or by the doctrine of equivalents, any valid and enforceable claim of the … Patent, either

  directly, contributorily, by inducement, jointly, or in any other manner.” (“Infringement

  Claims”). The Infringement Claims do not identify any basis for support of the non-

  infringement assertions. Plaintiff notes that the Defenses in Trend Micro’s Answer jump from

  the Eleventh Defense to the Eighteenth Defense. (D.I. 13 at ¶¶60, 61).

                                       II. LEGAL STANDARD

  A.     RULE 8 PLEADING STANDARD

         Fed.R.Civ.P. Rule 8(a) provides that a claim must contain “a short and plain statement of

  the claim showing that the pleader is entitled to relief.” “The question resolved on a Rule

  12(b)(6) motion to dismiss is not whether the [pleader] will ultimately prevail, ‘but whether [the]

  complaint was sufficient to cross the federal court's threshold.’” Erfindergemeinschaft Uropep

  GbR v. Eli Lilly & Co., 2016 WL 1643315 at *1 (E.D. Tex. 2016) (quoting Skinner v. Switzer,

  562 U.S. 521, 530 (2011)). When considering a motion to dismiss for failure to state a claim

  under Rule 12(b)(6) of the Federal Rules of Civil Procedure, a court must assume that all well-

  pleaded facts are true and view those facts in the light most favorable to the pleading party.

  Bowlby v. City of Aberdeen, 681 F.3d 215, 218 (5th Cir. 2012). The court may consider “the


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  complaint, any documents attached to the complaint, and any documents attached to the motion

  to dismiss that are central to the claim and referenced by the complaint.” Lone Star Fund V

  (U.S.) L.P. v. Barclays Bank PLC, 594 F.3d 383, 387 (5th Cir. 2010). The court must then

  decide whether those facts state a claim for relief that is plausible on its face. Bowlby, 681 F.3d

  at 217. “A claim has facial plausibility when the pleaded factual content allows the court to draw

  the reasonable inference that the [other party] is liable for the misconduct alleged.” Id. (quoting

  Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)).

         “A pleading that offers ‘labels and conclusions’ or ‘a formulaic recitation of the elements

  of a cause of action will not do.’” Ashcroft v. Iqbal, 556 U.S. 662, 677-78 (2009) (citing Bell

  Atlantic Corp. v. Twombly, 550 U.S. 544, 555 (2007)). “Nor does a complaint suffice if it

  tenders ‘naked assertion[s]’ devoid of ‘further factual enhancement.’” Id.

         “To survive a motion to dismiss, a complaint must contain sufficient factual matter,

  accepted as true, to ‘state a claim to relief that is plausible on its face.’” Iqbal, 556 U.S. at 678

  (citations omitted). The Supreme Court explained in Iqbal that “the tenet that a court must

  accept as true all of the allegations contained in a complaint is inapplicable to legal conclusions.

  Threadbare recitals of the elements of the cause of action, supported by mere conclusory

  statements, do not suffice.” Id.

  B.     PLEADINGS NECESSARY TO STATE INEQUITABLE CONDUCT

         In Therasense, Inc. v. Becton, Dickinson & Co., 649 F.3d 1276 (Fed. Cir. 2011) (en

  banc), the Federal Circuit heightened the standard to prove inequitable conduct, and required the

  accused infringer to “prove ... by clear and convincing evidence that the applicant knew of the

  reference, knew that it was material, and made a deliberate decision to withhold it.” Id. at 1290.

  Moreover, the Court imposed a “but-for” standard of materiality, i.e., an omission or

  misrepresentation is “but-for materiality,” which means that “the PTO would not have allowed a
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  claim had it been aware of the undisclosed prior art.” Therasense, 649 F.3d at 1291-92. Finally,

  the accused infringer must “prove that the patentee acted with the specific intent to deceive the

  PTO.” Id. at 1290.

         The Federal Circuit again reiterated the “but for” materiality requirement in In re

  Rosuvastatin Calcium Patent Litigation, 703 F.3d 511, 519 (Fed. Cir. 2012): “[t]o establish

  materiality, it must be shown that the PTO would not have allowed the claim but for the

  nondisclosure or misrepresentation.” See generally, Barry v. Medtronic, Inc., 2016 WL 3583620

  at *5 (E.D. Tex. 2016).

         The sufficiency of inequitable conduct claims is governed by Federal Circuit law, which

  requires particularity in accordance with Fed.R.Civ.P. Rule 9(b). Exergen Corp. v. Wal-Mart

  Stores, 575 F.3d 1312, 1326-27 (Fed. Cir. 2009). “A pleading that simply avers the substantive

  elements of inequitable conduct, without setting forth the particularized factual bases for the

  allegation, does not satisfy Rule 9(b).” 575 F.3d at 1326-27.

         A charge of inequitable conduct based on a failure to disclose will survive a
         motion to dismiss only if the plaintiff's complaint recites facts from which the
         court may reasonably infer that a specific individual both knew of invalidating
         information that was withheld from the PTO and withheld that information with a
         specific intent to deceive the PTO.

  Delano Farms Co. v. California Table Grape Comm'n, 655 F.3d 1337, 1350 (Fed. Cir. 2011)

  (citing Exergen v. Wal–Mart Stores, Inc., 575 F.3d 1312, 1318, 1330 (Fed. Cir. 2009); and

  Therasense, Inc. v. Becton, Dickinson & Co., 649 F.3d 1276 (Fed. Cir. 2011) (en banc)).

         As one Court noted, “as made clear in Therasense, courts must take an active role in

  examining the propriety of inequitable conduct claims,” and “without incorporating allegations

  of the specific elements to be proven on the merits at the pleading stage, albeit at a lower

  standard of plausibility at this initial juncture, courts cannot perform this function.” Pfizer Inc. v.

  Teva Pharmaceuticals USA, Inc., 803 F. Supp.2d 409, 432 (E.D. Va. 2011). Namely, the Federal

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  Circuit has plainly charged the district courts with policing charges of inequitable conduct that

  the Federal Circuit characterized as a “common litigation tactic,” and as having “plagued not

  only the courts but also the entire patent system.” Therasense, 649 F.3d at 1289.

  C.     LAW GOVERNING MOTIONS TO STRIKE AFFIRMATIVE DEFENSES

         Fed.R.Civ.P. Rule 12(f) provides that a party may move to “strike from a pleading an

  insufficient defense or any redundant, immaterial, impertinent, or scandalous matter.” “This rule

  creates a clear mechanism for the Court to save time and expense by eliminating insufficient

  defenses from the pleadings when those items lack merit or are otherwise unavailing.” Twin

  Rivers Engineering, Inc. v. Fieldpiece Instruments, Inc., Case 2:15-cv-01838-JRG, Order dated

  April 6, 2016 (see Exhibit 1) (“Twin Rivers”) (citing Operating Eng’rs Local 324 Health Care

  Plan v. G&W Const. Co., 783 F.3d 1045, 1050 (6th Cir. 2015)).

         Although motions to strike affirmative defenses are generally disfavored, affirmative

  defenses are pleadings subject to the requirements of Rules 8 and 9, and “a Rule 12(f) motion to

  dismiss a defense is proper when the defense is insufficient as a matter of law.” Twin Rivers,

  supra, at p. 2, quoting Kaiser Aluminum v. Chem. Sales, Inc., 677 F.2d 1045, 1057 (5th Cir.

  1982). See also Heller Fin., Inc. v. Midwhey Powder Co., Inc., 883 F.2d 1286, 1294 (7th Cir.

  1989). Affirmative defenses must give plaintiff “fair notice of the defense,” and may not be

  “mere denials of an element of the plaintiff’s prima facie case.” Twin Rivers, supra (citing

  Woodfield v. Bowman, 193 F.3d 354, 362 (5th Cir. 1999); F.T.C. v. Think All Pub. L.L.C., 564 F.

  Supp. 2d 663, 665–66 (E.D. Tex. 2008)).

                                         III. ARGUMENT

  A.     THE INEQUITABLE CONDUCT CLAIMS ARE INSUFFICIENT

         “[I]nequitable conduct counterclaims and affirmative defenses of inequitable conduct rise

  or fall together.” Medline Indus., Inc. v. C.R. Bard, Inc., 2016 WL 5871501 at *3 (N.D. Ill.

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  2016); Senju Pharm. Co. v. Apotex, Inc., 921 F. Supp. 2d 297, 306 (D. Del. 2013). Trend

  Micro’s IC Claims are deficient under the governing law of Therasense, Exergen and Delano

  Farms.

           Trend Micro’s IC Claims span 57 paragraphs over 18 pages (repeated twice as an

  Affirmative Defense and as the 13th Counterclaim). Multiple images and documents are

  reproduced or attached. The vast array of words and images only mask the plain fundamental

  deficiencies of the pleadings, and Trend Micro fails to state any claim for inequitable conduct as

  a matter of law.

           1.     Trend Micro Has Not Plausibly Pled, and Cannot Plead, “But For
                  Materiality” of the Pre-Critical Date Version of SysUpdatetm

           Trend Micro accuses the inventors of failing to disclose to the PTO that they had been

  allegedly offering for sale various computer products that allegedly embodied the inventions

  before the July 1, 2002 “critical date.” Yet, Trend Micro fails to demonstrate that any of the

  products allegedly offered for sale actually embodied the inventions claimed in the Patents.

  Accusations of fraud should not be made lightly and Trend Micro’s pleadings demonstrate only a

  disregard for the good name of the inventors, and Trend Micro’s legal obligations in accusing the

  inventors and their counsel of committing fraud.

           Trend Micro’s IC Claims repudiate the basic fact that all computer products are regularly

  enhanced and updated with new code and capabilities. For example, no one would suggest that

  the Microsoft Windows of 1985 is the same product as Windows today; and Trend Micro’s Deep

  Security 7.0 is not the same product as its later version, Deep Security 9.6. Yet, Trend Micro

  ignores this basic fact, and conflates entirely different products simply because they have the

  same name. Prior art and invalidity determinations are based on substance and not commercial

  labels as Trend Micro erroneously asserts.


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          Trend Micro’s IC Claims must be dismissed, because they fail to comport with the basic

  principle that “neither mere nondisclosure of prior art references to the PTO nor failure to

  mention prior art references in an affidavit constitutes affirmative egregious misconduct.” The

  IC Claims are fatally deficient, because they fail to plausibly plead the basic Therasense

  requirement that an inequitable conduct challenge must demonstrate “but-for materiality.” 649

  F.3d at 1292-93. Where such “but for materiality” is not reasonably supported, a claim of

  inequitable conduct must be dismissed. Red Carpet Studios v. Midwest Trading Grp., Inc., 2016

  WL 5661681 at *6 (S.D. Ohio, 2016).

          Trend Micro has not plausibly pled “but for materiality,” because Trend Micro never

  addresses the actual substance of any of the prior art. At no point does Trend Micro plausibly

  plead that the allegedly withheld prior art embodied the claimed inventions. If the prior art does

  not actually include the elements of the Patent claims, then there can be no “but for materiality.”

          “To sufficiently plead materiality, Exergen requires the pleadings ‘to identify which

  claims, and which limitations in those claims, the withheld references are relevant to, and where

  in those references the material information is found–i.e., the ‘what’ and ‘where’ of the material

  omissions.’” Mosaid Techs. Inc. v. Freescale Semiconductor, Inc., 2012 WL 12898419, at *4

  (E.D. Tex. 2012). That requires specifically pleading that the claim limitations are found in the

  prior art:

          However, NVIDIA and Freescale's pleadings do not include which specific claim
          limitation(s) of the '811Patent the PowerMizer feature practices. Id. at 29.
          Accordingly, while NVIDIA and Freescale sufficiently pled the “what” and
          “where” requirements for the '885 Patent, they do not sufficiently pled the “what”
          and the “where” requirements for the '811 Patent.

  Mosaid, supra.

          Trend Micro has not made and cannot plausibly plead that the alleged prior art meets the

  limitations of the Patent claims. For example, at ¶180, Trend Micro extensively quotes from

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  what Trend Micro describes as “a publicly available webpage entitled “What is Anti-

  VulnerabilityTM Technology?” that discussed the capabilities of SysUpdate and the Anti-

  Vulnerability Technology,” and at ¶181, Trend Micro adds that “By at least April 5, 2002,

  SecurityProfiling’s website described SysUpdate and Anti-Vulnerability Technology as

  ‘complete and fully capable,’” and at ¶¶182-83, Trend Micro adds that “[o]n information and

  belief, SysUpdate and the Anti-Vulnerability Technology (especially because SysUpdate utilizes

  the technology) were commercially available before the critical date.” All these pleadings can be

  accepted as true, but yet they do not validly plead inequitable conduct, because there is no

  plausible allegation, as there could not be, that the PTO would not have issued the Patent claims

  “but for” the alleged suppression of the above prior art.

         Trend Micro could not validly plead such “but for” materiality for two reasons. First, the

  text quoted at ¶180 demonstrates that the product described in the article provided only

  automatic patching: “offloads the tedious, manual functions of researching, downloading,

  deploying, installing, validating, and finally documenting updates.” Nowhere in the statement

  quoted in ¶180 is there any suggestion that the then-existing product met the Patent claims. For

  example, the article does not show that the product then had the capability, as required by claim

  1 of the ‘431 Patent of “identifying a plurality of mitigation techniques that mitigate effects of

  attacks that take advantage of vulnerabilities.” (emphasis added).

         Similarly, Trend Micro’s Exhibit K, a press release dated July 1, 2002, refers only to

  patching: “SysUpdateTM researches, downloads, deploys, installs, validates, and documents the

  installation of necessary patches, thereby proactively protecting the network.” Nothing in

  Exhibit K refers to, or even suggests, the structures or functions described in the Patent claims.

         Ultimately the implausibility of Trend Micro’s IC Claims is exposed by comparing

  Exhibits B and E attached to Trend Micro’s Answer. The two exhibits are also attached here for
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  ease of reference. Exhibit B is the paper entitled “What is Anti-Vulnerability™ Technology?” as

  it was published, according to the Internet Archive, on April 5 and August 8, 2002. Exhibit E-2

  is a paper having the same title, but is from about January 2003. (see Declaration of George

  Pazuniak, Exhibit 2). There is a significant difference between the two versions of the “What is

  Anti-Vulnerability™ Technology?”, demonstrating the significant change in the “Anti-

  Vulnerability™ Technology” between April/August 2002 and about January 2003. Thus, the

  January 2003 version now describes far more features and functionality than the prior

  description. For example, Trend Micro’s Exhibit E at pp. 4 and 6 include the same Figures that

  are now Figures 5B and 6 of the ‘431 Patent, but which were entirely missing in the pre-critical

  date description of the Anti-Vulnerability™ Technology.

         Under no stretch of plausibility can Trend Micro plead that any of the SecurityProfiling

  products remained unchanged from the date before the critical date to the date when

  SecurityProfiling published the various descriptions of its systems in the months after the critical

  date. There is no factual support for such a conclusion, and Trend Micro’s own Exhibits to the

  Answer demonstrate major changes in the products between pre-critical date time, and the time

  after the critical date. Merely pointing out that both sets of products had the same name, without

  considering the version of the products, is not a plausible pleading. Certainly, nothing in Trend

  Micro’s pleadings plausibly suggests that the pre-critical date products embodied the claimed

  inventions.

         2.      Trend Micro Has Not Plausibly Pled, and Cannot Plead, “But For”
                 Materiality of the Pre-Critical Date Version of LogBosstm

         Trend Micro cites another product, LogBoss, at ¶¶187-196, but never pled any

  relationship between LogBoss and any claim in any of the Patents. Trend Micro has not pled




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  that “but for” the inventors’ alleged withholding of the LogBoss information, the PTO would not

  have allowed the Patent claims.

         3.      Trend Micro Has Not Plausibly Pled, and Cannot Plead, “But For
                 Materiality” of the Alleged Misleading Submission

         Trend Micro asserts at ¶¶ 197-205 that the inventors’ counsel had submitted an Internet

  Archive copy of a page that purported to reflect the website’s “News,” and dated the page as

  “July 2001,” and which is attached to the Answer as Exhibit N. Trend Micro asserts that the

  page was actually dated December 9, 2002.

         It appears that whoever typed the description of the document on the disclosure statement

  had included the “July 2001” copyright date at the bottom of the page, Exhibit N, rather than the

  actual date of the document. At the same time, Exhibit N also reflects the “December 9, 2002”

  date at the top of the page, clearly showing that the page was found on a December 9, 2002 copy

  of the Internet Archive.

         Whatever the facts, however, Trend Micro’s inequitable conduct assertion is frivolous in

  the extreme. If a document is dated “July 1, 2002,” then the document is prima facie prior art,

  because it is before the critical date, and, if the document is dated December 9, 2002, then the

  document is after the critical date. Thus, dating the submission as “July 2001” implied that the

  submission was far more material than it actually was. How that error can reflect “but for”

  materiality or support a conclusion that the inventors or their attorneys had intended to deceive

  the PTO remains a mystery.

         In any event, Trend Micro has not pled, and cannot plead, how any material allegedly

  hidden, secreted or withheld can meet the Therasense standard that an applicant’s actions in the

  PTO are material for inequitable conduct purposes only if “but for” the act or omission the PTO

  would have issued the Patent claims.


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         4.      Trend Micro Has Not Plausibly Pled, and Cannot Plead, “But For”
                 Materiality of the Alleged Misleading Submission

         Trend Micro asserts at ¶¶ 206-210 that the inventors committed fraud when they

  submitted an October 2002 document, stating that “document “was eventually distributed under

  the trade name ‘AntiVulnerability Technology.’ See Exhibit C at 1-4.” Trend Micro asserts that

  “SecurityProfiling marketed technology under the trade name Anti-Vulnerability Technology

  before July 1, 2002.” (¶208). But, as noted above, even if the inventors had marketed a product

  by that name, the issue is irrelevant, because Trend Micro’s own Exhibits B and E demonstrate

  that the July 1, 2002 product was not the same as the later products, even if they were sold under

  the same generic name.

         Without any plausible pleading that the July 1, 2002 product was the same as the product

  described in the October 2002 white paper, Trend Micro’s allegations are insufficient to plead a

  plausible case of inequitable conduct.

         5.      Trend Micro Has Not Plausibly Pled, and Cannot Plead, “But For
                 Materiality” or Intent to Deceive

         Trend Micro asserts at ¶¶ 211-218 that the above alleged non-disclosure and declaration

  were “material information,” and the inventors intended to deceive. All the allegations turn on

  the erroneous assumption that SecurityProfiling pre-critical date products were the same as the

  products marketed after the critical date and described in post-critical date documents. No

  pleading plausibly supports that conclusion (and it is a false conclusion). Trend Micro’s

  allegations have no more plausibility than asserting that all versions of Microsoft Windows

  operating systems are the same, because they are called “Windows” and “Windows” has been a

  registered trademark of Microsoft.

         Thus, Trend Micro has not plausibly pled the correlation between what Trend Micro

  identifies as the prior art and the claims of the Patents, and, thus, has failed to plead any “but for”

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  materiality. Trend Micro has merely pleaded that certain products offered for sale by the

  inventors prior to the critical date have the same name as products sold later, but not that the

  products were unchanged or that any products sold or offered for sale prior to the critical date

  incorporated the claimed inventions.

  B.      TREND MICRO’S INVALIDITY CLAIMS ARE INSUFFICIENT

          Various courts have held that patent invalidity claims must be supported by more than

  bare-bones legal conclusions devoid of any supporting factual allegations. EMC Corp. v. Zerto,

  Inc., 2014 U.S. Dist. LEXIS 104520 at *7 (D. Del. 2014); Senju Pharm. Co., Ltd v. Apotex, Inc.,

  921 F. Supp. 2d 297, 303 (D. Del. 2013) ("[T]he pleading standards set forth in Twombly and

  Iqbal apply to counterclaims of invalidity."); Tyco Fire Prods. LP v. Victaulic Co., 111 F. Supp.

  2d 893, 898 (E.D. Pa. 2011) ("In the wake of Twombly and Iqbal, it is clear that a[] counterclaim

  must set forth sufficient facts to give rise to a plausible claim for relief").

          Here, the totality of Trend Micro’s Invalidity Claims is the single uninformative assertion

  that:

          one or more of the claims of the … Patent are invalid for failure to meet the
          requirements of Title 35, United States Code, including but not limited to Sections
          101, 102, 103, 112, and/or 116 thereof, and the rules, regulations, and laws
          pertaining thereto.

          Thus, Trend Micro commingles in a single phrase the disparate principles such as patent

  ineligibility, anticipation, obviousness, claim definiteness, adequacy of disclosure, best mode,

  and inventorship, and references not only the patent statutes but undefined rules, regulations and

  “laws pertaining thereto.”

          Trend Micro’s Invalidity Claims provide less detail than the deficient counterclaims

  dismissed in EMC and Senju. Trend Micro’s conclusory allegations do not even contain the

  “threadbare recitals of the elements of the cause of action,” which the Supreme Court has held


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  are insufficient. Iqbal, 556 U.S. at 678. Courts have specifically struck invalidity claims that are

  essentially identical to the Trend Micro’s allegations. Thus, in RAH Color Techs. LLC v. Ricoh

  USA Inc., 2016 WL 3632720 at *4 (E.D. Pa. 2016), the Court considered a pleading that read:

          The claims of the [Asserted Patent] are invalid for failure to satisfy one or more of
          the conditions for patentability specified in Title 35 of the United States Code,
          including but not limited to §§ 101, 102, 103, 112, and 132.

  The Court struck these pleadings, holding that they were “substantively indistinguishable from

  those that were deemed insufficient under Twombly/Iqbal” in various other cases and plainly fell

  short of the Twombly/Iqbal pleading standard.

          Trend Micro has not provided Plaintiff with notice as to why any of the claims of the

  Patents are allegedly invalid. The Court cannot accept as true any facts relating to the invalidity

  of these other claims, as it must under a Rule 12(b)(6) analysis, because Trend Micro has alleged

  no facts relating to the invalidity of these claims. As such, Trend Micro’s Invalidity Claims fail

  to either “raise a right to relief above the speculative level” or “state a claim that is plausible on

  its face.” Twombly, 550 U.S. at 555, 570.

  C.      TREND MICRO’S INFRINGEMENT CLAIMS ARE INSUFFICIENT

          Trend Micro does not have to detail a denial of infringement. However, the situation

  changes when Trend Micro affirmatively seeks a declaratory judgment that it does not infringe.

  A counterclaim for non-infringement is indistinguishable from any other claim, and must comply

  with Rule 8 and the standards following Twombly/Iqbal.

          In RAH Color Techs. LLC v. Ricoh USA Inc., 2016 WL 3632720 at *5 (E.D. Pa. 2016),

  the Court considered a pleading that read:

          Ricoh has not infringed and does not infringe, either directly, indirectly,
          contributory [sic], or by inducement, any valid and enforceable claims of the
          [asserted] patent either literally or under the doctrine of equivalents, willfully, or
          otherwise.


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  The Court struck these pleadings, because “[a]pplying Twombly and Iqbal to Defendant's

  noninfringement counterclaims … we find those counterclaims lack the plausibility and

  particularized facts required to sufficiently state a claim for relief.” (Id.). See also Tannerite

  Sports, LLC v. Jerent Enterprises, LLC, 2016 WL 1737740 at *5 (D. Or. 2016) (“the Court finds

  defendant has not alleged sufficient facts that when taken as true, support a reasonable inference

  defendant did not sell or offer to sell a product that had no substantial non-infringing use.

  Defendant's non-infringement counterclaim again leaves the Court to guess which facts support

  its claim for relief, as detailed factual allegations remain absent from the pleading”).

  D.     TREND MICRO’S OTHER DEFENSES MUST BE STRICKEN

         The Twombly/Iqbal plausibility pleading requirements apply to affirmative defenses.

  There can be no other logical conclusion. See, for example, Twin Rivers, supra. The issue was

  fully analyzed in one recent decision, Hayden v. United States, 147 F. Supp. 3d 1125, 1129–31

  (D. Or. 2015), which is complete and dispositive of the issue. After explaining why affirmative

  defenses are subject to the requirement of Twombly/Iqbal, the Court noted considerations that are

  fully applicable here:

         Lastly, the policy underlying Twombly and Iqbal's plausibility requirement
         applies with equal force to defenses. The Supreme Court recognized that
         tightening notice pleading to require plausibility serves an important gate-keeping
         function by cutting off vague or even frivolous claims early, thus avoiding the
         time and expense of unnecessary or far-ranging discovery. Discovery on
         affirmative defenses such as promissory estoppel and novation, for example, can
         be every bit as costly and time-consuming, and fact-intensive, as discovery on
         plaintiffs claim for breach of contract. “Applying the standard for heightened
         pleading to affirmative defenses serves a valid purpose in requiring at least some
         valid factual basis for pleading an affirmative defense and not adding it to the case
         simply upon some conjecture that it may somehow apply.” Applying a
         heightened to affirmative defenses also “weed[s] out the boilerplate listing of
         affirmative defenses which is commonplace in most defendants' pleadings where
         many of the defenses alleged are irrelevant to the claims asserted.” Plaintiffs are
         entitled to the same level of plausibility in a defense as defendants are to a claim
         for relief; doing so ensures plaintiffs will not be put to unnecessary time and
         expense pursuing needless discovery.
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  Hayden, supra (internal citations omitted). See also Palmer v. Oakland Farms, Inc., 2010 WL

  2605179 at *5 (W.D. Va. 2010) (“[T]he considerations of fairness, common sense and litigation

  efficiency underlying Twombly and Iqbal strongly suggest that the same heightened pleading

  standard should also apply to affirmative defenses.”); HCRI TRS Acquirer, LLC v. Iwer, 708 F.

  Supp. 2d 687, 691 (N.D. Ohio 2010) (concluding that “[t]he underlying rationale used by the

  Supreme Court [is] a justification for extending the holdings of Twombly and Iqbal to

  affirmative defenses”); Vogel v. Huntington Oaks Del. Partners, LLC, 291 F.R.D. 438, 440-42

  (C.D. Cal. 2013) (applying Twombly and Iqbal to affirmative defenses); Barnes v. AT & T

  Pension Ben. Plan-Nonbargained Program, 718 F. Supp. 2d 1167, 1172 (N.D. Cal. 2010)

  (same).

            In addition to the defenses considered with the prior analysis of the IC Claims, Invalidity

  Claims and Infringement Claims, the other deficient affirmative defenses in Trend Micro’s

  Answer are considered below:

            First Affirmative Defense: “The Complaint fails to state a claim against Defendants upon

  which relief can be granted.” (¶ 48). This is not a defense, but a motion that the Complaint fails

  to state a cause of action, and which is properly presented under Rule 12(b)(6). As analyzed by

  one Court, “[f]ailure to state a claim is not an affirmative defense, rather it is an assertion of a

  defect in a plaintiff's prima facie case” and such a defense is properly stricken. J & J Sports

  Prods., Inc. v. Angulo, 2015 WL 5020725 at *2 (E.D. Cal. 2015).

            Sixth Affirmative Defense: “On information and belief, the relief sought by

  SecurityProfiling is barred … by the failure to mark, by SecurityProfiling or by one or more

  parties licensed or otherwise authorized to practice the Asserted Patents….” (¶ 54). Trend Micro

  is required to identify the products that were allegedly not marked, and plead the reason that the

  product should have been marked.
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          Eighth Affirmative Defense: Trend Micro appears to be asserting a hypothetical that

  Plaintiff might not have standing to sue for infringement of patents owned by the Plaintiff. (¶

  54). Trend Micro is plainly trying to state the defense in hypothetical terms. However, if

  Plaintiff had no standing to sue, then the proper process would be to file a motion to dismiss,

  because then the Court has no subject matter jurisdiction, and no Article III jurisdiction.

          Ninth Affirmative Defense: Trend Micro asserts “SecurityProfiling’s claims for relief are

  barred in whole or in part by express or implied license.” (¶ 58). The defense must be stricken,

  because Trend Micro does not identify the sources of any express or implied license, nor do they

  provide the source or basis for the defense in short and plain terms. For example, in Twin Rivers,

  the Defendant had provided a basis for the defense, by pleading that “Plaintiff continued to

  supply components to Defendant or its authorized vendors after the termination of the underlying

  business agreement, and that such conduct gave rise to an implied or downstream license.” Twin

  Rivers, supra, at p. 3.

          Tenth Affirmative Defense: Trend Micro asserts “SecurityProfiling’s claims for relief are

  barred in whole or in part by the doctrine of patent exhaustion.” (¶ 59). This defense must be

  stricken, because Trend Micro does not identify the sources of patent exhaustion, nor do they

  provide the source or basis for the defense in short and plain terms.

          Eleventh Affirmative Defense: Trend Micro asserts that “SecurityProfiling’s claims

  against Defendants regarding the Asserted Patents are barred, in whole in part, by the equitable

  doctrines of waiver, estoppel, claim preclusion, laches, and/or unclean hands.” (¶ 60). Trend

  Micro conflates multiple equitable defenses, without providing the source or basis for the

  defense in short and plain terms. In Twin Rivers, the Court struck a similarly-worded affirmative

  defense, stating:



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         This broad and generic recitation of equitable defenses does not recite any facts as
         to how Plaintiff’s conduct gives rise to any of such defenses. While the Court
         acknowledges that “in some cases, merely pleading the name of the affirmative
         defense . . . may be sufficient,” Defendant’s Answer “falls well short of the
         minimum particulars needed to identify the affirmative defense in question.”

  Twin Rivers, supra at pp. 2-3 (citing and quoting Woodfield v Bowman, 193 F.3d 354, 362 (5th

  Cir. 1999)).

                                        IV. CONCLUSION

         For the foregoing reasons, Plaintiff SecurityProfiling respectfully requests that this Court

  grant its Motion to Dismiss and to Strike.




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  Dated: December 23, 2016              Respectfully submitted,

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                                CERTIFICATE OF SERVICE

         The undersigned hereby certifies that all counsel of record who are deemed to have

  consented to electronic service are being served with a copy of this document via the Court’s

  CM/ECF system per Local Rule CV-5(c) on this 23rd day of December 2016.


                                                    /s/ Christopher M. Joe
                                                    Christopher M. Joe




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